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                                                             USDC SDNY
UNITED STATES DISTRICT COURT                                 DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                ELECTRONICALLY FILED
UNITED STATES OF AMERICA                                     DOC #: ____________________
                                                             DATE FILED: 10/21/2020
              -against-
                                                                      14 Cr. 468-4 (AT)
OSCAR ALMANZAR,
                                                                           ORDER
                       Defendant.
ANALISA TORRES, District Judge:

     The violation of supervised release hearing scheduled for October 28, 2020 is
ADJOURNED sine die.

       SO ORDERED.

Dated: October 21, 2020
       New York, New York
